          Case 2:12-cr-00237-RSM            Document 942      Filed 06/23/16     Page 1 of 10




                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9      RUCHELL GILBERT,                                  CASE NO. C15-1855 JCC
10
                              Petitioner,                 CASE NO. CR12-0237 JCC
11
               v.                                         ORDER GRANTING MOTION TO
12                                                        VACATE, SET ASIDE, OR
        UNITED STATES OF AMERICA,                         CORRECT SENTENCE
13
                              Respondent.
14

15          This matter comes before this Court on Petitioner Ruchell Gilbert’s motion to vacate, set

16 aside, or correct his sentence (Dkt. No. 1). Having thoroughly considered the parties’ briefing

17 and the relevant record, this Court finds oral argument unnecessary and hereby GRANTS the

18 motion for the reasons explained herein.

19 I.       BACKGROUND

20          On April 8, 2014, this Court sentenced Petitioner to 130 months of imprisonment after he

21 pleaded guilty to one count of Conspiracy to Distribute Controlled Substances in violation of 21

22 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846, and one count of Felon in Possession of a Firearm in

23 violation of 18 U.S.C. § 922(g)(1). United States v. Ruchell Gilbert, Case No. CR12-0237-JCC,

24 Dkt. No. 806 at 1–2 (W.D. Wash. 2014) (“Gilbert I”). In its Statement of Reasons, this Court

25 adopted the Presentence Investigation Report “without change,” Gilbert I, Dkt. No. 940 at 1, and

26 therefore found that Petitioner was a “career offender” under USSG § 4B1.1(a) because he had



     CASE NO. CR12-0237 JCC
     PAGE - 1
           Case 2:12-cr-00237-RSM          Document 942        Filed 06/23/16      Page 2 of 10




 1 been previously convicted of two “crimes of violence”: Robbery Second Degree and Attempting

 2 to Elude a Pursuing Police Vehicle. Id., Dkt. No. 790 at 9, 22–23. As a career offender,

 3 Petitioner’s total offense level was 29, resulting in a Guidelines range of 151–188 months. Id.,

 4 Dkt. No. 790 at 18. Had Petitioner not been found a career offender, his total adjusted offense

 5 level of 26 and criminal history category of IV would have resulted in a Guidelines range of

 6 120–150 months. Id. at 20. In addition, he would have been eligible for a two-level downward

 7 adjustment, which would have resulted in a Guidelines range of 100–125 months. Id.

 8          Petitioner’s motion to vacate arrives in the wake of Johnson v. United States, 135 S. Ct.
 9 2551, 2557 (2015). In Johnson, the Supreme Court ruled on a section of the Armed Career

10 Criminal Act known as the “residual clause,” which provided a definition of “violent felony.”

11 Under the ACCA, a defendant convicted of being a felon in possession of a firearm faces a

12 mandatory minimum sentence of 15 years if he has three prior convictions for “violent felonies.”

13 18 U.S.C. § 924(e)(1). The ACCA residual clause provided that a violent felony was one that

14 “otherwise involves conduct that presents a serious potential risk of physical injury to another.”

15 18 U.S.C. § 924(e)(2)(B)(ii). In Johnson, the Supreme Court held that this clause was

16 “unconstitutionally vague.” 135 S. Ct. 2557. In doing so, the Court necessarily found the clause

17 “vague in all its applications,” id. at 2561, and concluded that “[i]ncreasing a defendant's

18 sentence under the clause denies due process of law.” Id. at 2557. Recently, in Welch v. United

19 States, the Court held that Johnson applies retroactively to defendants whose sentences were

20 enhanced under the ACCA’s residual clause. 136 S. Ct. 1257, 1265 (2016).

21          Although Petitioner was sentenced as a career offender under the Guidelines rather than

22 under the ACCA, the Guidelines’ definition of “crime of violence” includes a sentence identical

23 to the ACCA residual clause. See USSG § 4B1.2(a)(2) (providing that a “crime of violence

24 means any offense…[that] otherwise involves conduct that presents a serious potential risk of

25 physical injury to another”); see also United States v. Spencer, 724 F.3d 1133, 1138 (9th Cir.

26 2013) (holding that the Ninth Circuit makes “no distinction between the terms ‘violent felony’


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 2
           Case 2:12-cr-00237-RSM            Document 942         Filed 06/23/16       Page 3 of 10




 1 [as defined in the ACCA] and ‘crime of violence’ [as defined in § 4B1.2(a)(2) of the Sentencing

 2 Guidelines] for purposes of interpreting the residual clause[s]”). The Government admits that

 3 Petitioner was sentenced as a career offender under the Guidelines residual clause, (Dkt. No 15

 4 at 6), and “agrees that Johnson’s vagueness holding applies” to this clause as well as to that of

 5 the ACCA. (Id. at 12.)

 6           Petitioner now moves to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255,

 7 arguing that it was unconstitutional under Johnson and Welch. In response, the Government

 8 argues that Petitioner’s claim has been waived and is procedurally barred, and that even though
 9 Johnson’s holding applies to the Guidelines residual clause, it does not do so retroactively.

10 II.       DISCUSSION

11           A.      28 U.S.C. § 2255

12           Under 28 U.S.C. § 2255, a federal prisoner in custody under sentence may move the

13 court that imposed the sentence to vacate, set aside, or correct the sentence on the ground that:

14           [T]he sentence was imposed in violation of the Constitution or laws of the United
             States, or that the court was without jurisdiction to impose such sentence, or that
15           the sentence was in excess of the maximum authorized by law, or is otherwise
             subject to collateral attack ....
16
     28 U.S.C. § 2255. A petitioner seeking relief under § 2255 must file his motion with the one-year
17
     statute of limitations set forth in § 2255(f). That section provides that a motion is timely if it is
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     filed within one year of “the date on which the right asserted was initially recognized by the
19
     Supreme Court, if that right has been newly recognized by the Supreme Court and made
20
     retroactively applicable to cases on collateral review.” § 2255(f)(3).
21
             The Supreme Court issued its opinion in Johnson on June 26, 2015. Petitioner filed his
22
     motion on November 19, 2015, less than one year later. (Dkt. No. 1.) The Government does not
23
     dispute that Petitioner’s claim is timely.
24
             B.      Waiver
25
             The Government does, however, argue that Petitioner’s claim has been waived. As part of
26


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 3
           Case 2:12-cr-00237-RSM            Document 942      Filed 06/23/16      Page 4 of 10




 1 his plea agreement, Petitioner expressly waived “any right to bring a collateral attack against the

 2 conviction and sentence… except as it may relate to the effectiveness of legal representation.”

 3 Ruchell I, Dkt. No. 573 at 9. Nonetheless, because Petitioner’s sentence was unconstitutional, his

 4 waiver is ineffective in this instance.

 5          In United States v. Bibler, the Ninth Circuit held that an “appeal waiver will not apply

 6 if… the sentence violates the law.” 495 F.3d 621, 624 (9th Cir. 2007). The court explained that a

 7 sentence violates the law if it “exceeds the permissible statutory penalty for the crime or violates

 8 the Constitution.” Id. Because the Government admits that Petitioner was sentenced under a
 9 Guidelines clause that is unconstitutionally vague after Johnson, Petitioner has not waived his

10 right to collaterally attack his sentence.

11          C.      Procedural Default
12          The Government next argues that Petitioner’s claims are procedurally defaulted because
13 he did not argue either at his sentencing or on appeal that the Guidelines residual clause was

14 unconstitutional. “[T]o obtain collateral relief based on trial errors to which no contemporaneous

15 objection was made, a convicted defendant must show both (1) ‘cause’ excusing his double

16 procedural default, and (2) ‘actual prejudice’ resulting from the errors of which he complains.”

17 United States v. Frady, 456 U.S. 152, 167-68 (1982). Petitioner admits that he never

18 contemporaneously objected that the Guidelines residual clause was unconstitutional, but argues

19 that he can show cause and prejudice. (Dkt. No. 18 at 11.)

20          “[A] showing that the factual or legal basis for a claim was not reasonably available to

21 counsel… would constitute cause” excusing a procedural default. Murray v. Carrier, 477 U.S.

22 478, 488 (1986). In Reed v. Ross, the Supreme Court held that a claim would “almost certainly”

23 not be “reasonably available to counsel” if it is based on a Supreme Court decision that

24 “explicitly overrule[d] one of our precedents.” 468 U.S. 1, 17 (1984).

25          Petitioner’s claim satisfies this standard because Johnson, the case on which Petitioner’s

26 claim is based, “explicitly overrule[d]” the holdings in Sykes v. United States, 564 U.S. 1 (2011),


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 4
           Case 2:12-cr-00237-RSM          Document 942         Filed 06/23/16     Page 5 of 10




 1 and James v. United States, 550 U.S. 192 (2007). Johnson, 134 S. Ct. at 2563. In Sykes and

 2 James, the Court held that the ACCA residual clause was constitutional. Id. at 2558–59. Indeed,

 3 in Sykes, the Court was confronted with a prior conviction roughly equivalent to Petitioner’s:

 4 fleeing from law enforcement in a vehicle. Id. There the Court held that felony vehicle flight was

 5 a “violent felony” under the ACCA residual clause. Sykes, 564 U.S. at 15–16. Moreover, as

 6 Petitioner points out, the Government even cited Sykes in arguing that Petitioner’s Attempting to

 7 Elude conviction was a crime of violence. (Dkt. No. 854 at 12–13.) Therefore, this Court finds

 8 that Petitioner has shown cause excusing his procedural default.
 9          The Government does not contest that Petitioner suffered “actual prejudice” from this
10 Court’s reliance on the Guidelines residual clause. (Dkt. No. 15 at 9.) Prejudice is shown when

11 “there is a reasonable probability” that the result of a petitioner’s sentencing would have been

12 different without the error to which the petitioner failed to object. Strickler v. Greene, 527 U.S.

13 263, 289 (1999). In sentencing Petitioner to 130 months of imprisonment, this Court adopted

14 Probation’s findings and recommendation of 155 to 188 months’ imprisonment and then varied

15 downward; had Petitioner not been deemed a career offender, Probation would have

16 recommended 100 to 125 months. Gilbert I, Dkt. No. 790 at 18, 20. Therefore, it is highly

17 probable that Petitioner’s sentence would have been lower had this Court not erred in sentencing

18 him under the Guidelines’ residual clause.

19          Petitioner’s claim is therefore not procedurally defaulted.

20          D.      Retroactivity

21          In Welch, the Supreme Court held that Johnson applies retroactively to defendants

22 challenging an enhanced ACCA sentence on collateral review. But the Government argues that

23 Welch has no bearing on the application of Johnson to Petitioner’s collateral challenge to his

24 enhanced Guidelines sentence. Although the Government admits that Johnson applies to the

25 Guidelines residual clause, it argues that it does not do so retroactively.

26          //


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 5
           Case 2:12-cr-00237-RSM          Document 942        Filed 06/23/16      Page 6 of 10




 1                  1.     Substantive and Procedural Rules

 2          Teague v. Lane, 489 U.S. 288 (1989), provides the “framework for retroactivity in cases

 3 on collateral review.” Montgomery v. Louisiana, 136 S. Ct. 718, 728 (2016). Under Teague, new

 4 “substantive” rules apply retroactively on collateral review, while new “procedural” rules almost

 5 never do. Teague, 489 U.S. at 310–13. In Welch, the Court explained that the determination of

 6 whether a rule is substantive or procedural depends on “whether the new rule itself has a

 7 procedural function or a substantive function—that is, whether it alters only the procedures used

 8 to obtain the conviction, or alters instead the range of conduct or class of persons that the law
 9 punishes.” 136 S. Ct. at 1266. The Court found that procedural rules are those that, for instance,

10 “allocate decisionmaking authority between judge and jury, or regulate the evidence that the

11 court could consider in making its decision.” Id. at 1265 (internal citation omitted). The Court

12 therefore concluded that “Johnson is not a procedural decision” because it “had nothing to do

13 with the range of permissible methods a court might use to determine whether a defendant

14 should be sentenced under the Armed Career Criminal Act.” Id. at 1265. Instead, the Court held

15 that Johnson was a substantive decision because it “affected the reach of the underlying statute

16 rather than the judicial procedures by which the statute is applied.” Id.

17          The Government argues that in the sentencing context, a new rule is only substantive
18 when it alters the “statutory sentencing range for a crime that results in a sentenced defendant

19 facing ‘a punishment that the law cannot impose.’” (Dkt. No. 15 at 13) (quoting Schriro v.

20 Summerlin, 542 U.S. 348, 352 (2004)). Therefore, no sentence under the Guidelines could be

21 substantive, because a Guidelines sentence can never exceed the statutory maximum; it can

22 never, in other words, be a “punishment the law cannot impose.” USSG § 5G1.1 But

23 Respondent’s argument misinterprets the Court’s language in Schriro—it gets it backwards. In

24 Schriro, the Court held that a new rule which “necessarily carries a significant risk that a

25 defendant…faces a punishment that the law cannot impose” is substantive, not that substantive

26 rules necessarily carry this risk. 542 U.S. at 352.


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 6
           Case 2:12-cr-00237-RSM          Document 942        Filed 06/23/16      Page 7 of 10




 1          Respondent is therefore advocating for a too-narrow definition of substantive rules, one

 2 that is contrary to the Supreme Court’s holding in Welch. Again, as the Welch Court made clear,

 3 a new rule will be substantive so long as it “alters… the range of conduct or class of persons that

 4 the law punishes,” as opposed to simply altering “the procedures used to obtain the conviction.”

 5                  2.     The Guidelines Remain the Lodestone of Sentencing

 6          Under this broader definition, Johnson announced a new substantive rule in the

 7 Guidelines context as well, because the application of Johnson to the Guidelines will alter the

 8 “range of conduct or class of persons that the law punishes.” That is so because the Guidelines,
 9 although advisory, “remain the lodestone of sentencing.” Peugh v. United States, 133 S. Ct.

10 2072, 2084 (2013). In Peugh, the Supreme Court found “considerable empirical evidence

11 indicating that the Sentencing Guidelines have the intended effect of influencing the sentences

12 imposed by judges.” Id. The Court enumerated its findings: that when a Guidelines range moves

13 up or down, “offenders’ sentences move with it”; that in less than one-fifth of cases did district

14 courts impose sentences outside the Guidelines range without a Government motion; and that in

15 the “vast majority” of cases, district courts imposed sentences within the Guidelines range, or, on

16 a Government motion, that varied downward from that range. Id.

17          Petitioner’s own sentence was enhanced because this Court adopted Probation’s
18 recommendation that he be sentenced as a career offender. Again, the Government admits that

19 Petitioner was sentenced as a career offender under the Guidelines residual clause, and it admits

20 that this clause is now unconstitutionally vague. As a result, after Johnson, defendants like

21 Petitioner will no longer be deemed career offenders and will most likely be given shorter

22 sentences. Johnson therefore altered the “range of conduct or class of persons” that the

23 Guidelines punish.

24          Nonetheless, the Government argues that because the Guidelines are advisory, courts can

25 still choose to give offenders the same sentence now as they would have under the Guidelines

26 residual clause, and therefore Johnson must be procedural in the Guidelines context. But this


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 7
           Case 2:12-cr-00237-RSM          Document 942        Filed 06/23/16      Page 8 of 10




 1 argument is contrary to recent Supreme Court precedent.

 2          In Montgomery v. Louisiana, the Court held that the new rule established in Miller v.

 3 Alabama, 132 S. Ct. 2455 (2012)—that juveniles could not be sentenced to life without parole

 4 without accounting for their youth—was substantive and therefore retroactive. 136 S. Ct. 718,

 5 725, 736 (2016). Although the Court acknowledged that some juveniles would still be sentenced

 6 to life without parole even with this special consideration, many would not be. Id. at 734. And

 7 because many would not be, the Court found that Miller established a new substantive rule, not a

 8 procedural one. See id. (“The fact that life without parole could be a proportionate sentence for
 9 [some juvenile offenders] does not mean that all other children imprisoned under a

10 disproportionate sentence have not suffered the deprivation of a substantive right.”).

11          In light of courts’ reliance on the Guidelines, Johnson will likely have the same effect.
12 Many defendants who would have been deemed career offenders under the Guidelines residual

13 clause will now be given reduced sentences. The fact that some of their sentences will not be

14 reduced does not, after Montgomery, mean that Johnson created anything but a new substantive

15 rule.

16                  3.     Ninth Circuit Precedent: Reina-Rodriguez v. United States
17          This Court’s decision is also guided by controlling precedent. In Reina-Rodriguez v.
18 United States, the Ninth Circuit held that its opinion in United States v. Grisel, 488 F.3d 844 (9th

19 Cir. 2007), which limited the ACCA’s definition of burglary, announced a new substantive rule.

20 655 F.3d 1182, 1189 (9th Cir. 2011). As a result, the court found that it applied retroactively on

21 collateral review in a case where the petitioner was challenging a Guidelines calculation, not a

22 sentence under the ACCA. Id.

23          In its retroactivity determination, the Reina-Rodriguez court did not distinguish between a

24 sentence under the ACCA and one under the Guidelines; in both cases, the new rule was

25 substantive because it “altered the conduct that substantively qualifies as burglary.” Id. For this

26 reason, a court in the District of Oregon recently found that Reina-Rodriguez required it to hold


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 8
           Case 2:12-cr-00237-RSM           Document 942         Filed 06/23/16      Page 9 of 10




 1 that Johnson applies retroactively to sentences under the Guidelines residual clause. United

 2 States v. Dean, No. 3:13-CR-00137-SI, 2016 WL 1060229, at *16 (D. Or. Mar. 15, 2016). This

 3 Court agrees, and finds that under Reina-Rodriguez, when a new rule is substantive as applied to

 4 the ACCA, it is also substantive as applied to the Guidelines. See id. (“Under the Ninth Circuit's

 5 decision, a rule that is substantive in the first context is substantive in the second context.”).

 6          The Government admits that its position “is in tension with Reina-Rodriguez v. United

 7 States.” (Dkt. No. 15 at 16.) But it argues that Reina-Rodriguez is not binding because the court

 8 in that case did not consider the argument the Government raises here: That a new rule
 9 invalidating a Guidelines provision cannot be substantive since a Guidelines sentence can never

10 exceed the statutory limit. But this Court has already explained that the Government’s narrow

11 definition of substantive rules misinterprets Supreme Court precedent.

12          This Court also agrees with the district court in Dean that Johnson’s invalidation of the
13 Guidelines residual clause quite simply does not resemble a procedural rule. As in Dean,

14 Petitioner’s “prior state court conviction for fleeing law enforcement no longer constitutes a

15 ‘crime of violence’ for purposes of the Guidelines’ residual clause.” Dean, 2016 WL 1060229, at

16 *16. Thus, Johnson “does not ‘regulate only the manner of determining the defendant's

17 culpability’ like a procedural rule would.” Id. (quoting Schriro, 542 U.S. at 353). Rather, it

18 “substantively changes the conduct by which federal courts may enhance the sentence of a

19 defendant under the Guidelines.” Id.

20                  4.      Vagueness and the Guidelines

21          Finally, the Government argues that if this Court finds that Johnson is a new substantive

22 rule that applies retroactively in the Guidelines context, then it must also recognize an additional

23 new rule: That the Guidelines can be challenged as unconstitutionally vague. This Court

24 disagrees.

25          First, the Ninth Circuit has already held that the Guidelines can be challenged as

26 unconstitutionally vague. United States v. Johnson, 130 F.3d 1352, 1354 (9th Cir. 1997). Second,


     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 9
          Case 2:12-cr-00237-RSM           Document 942        Filed 06/23/16      Page 10 of 10




 1 Reina-Rodriguez provides that new rules that are substantive as applied to the ACCA are

 2 substantive as applied to the Guidelines. And third, the Supreme Court held in Johnson that the

 3 residual clause in the ACCA was “vague in all its applications;” further, the Government admits

 4 that the ACCA residual clause is identical to the Guidelines residual clause, and that Johnson

 5 applies to the latter clause as well.

 6          Therefore, to apply Johnson to this case, this Court need only recognize that Johnson

 7 created a new substantive rule that invalidates the Guidelines residual clause. No additional new

 8 rule need be recognized.
 9 III.     CONCLUSION

10          For the foregoing reasons, Petitioner’s motion to vacate, correct, or set aside his sentence

11 (Dkt. No. 1) is GRANTED. This Court VACATES and SETS ASIDE the Judgment: Gilbert I,

12 Dkt. No. 806. This Court will resentence Petitioner, permit him to submit objections to his

13 Presentence Report pursuant to Federal Rule of Criminal Procedure 32(i)(1)(D), and allow both

14 sides to argue for an appropriate and lawful sentence.

15          DATED this 23rd day of June 2016.

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                                                          A
                                                          John C. Coughenour
22                                                        UNITED STATES DISTRICT JUDGE

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     ORDER GRANTING MOTION TO VACATE, SET
     ASIDE, OR CORRECT SENTENCE
     PAGE - 10
